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                      EXHIBIT 10
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                                                                      Page 1

 1
                         IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
 3
 4
 5          IN RE:  NATIONAL PRESCRIPTION                 MDL No. 2804
            OPIATE LITIGATION                             Case No. 17-md-2804
 6
 7          This document relates to:                     Judge Dan
                                                          Aaron Polster
 8
            The County of Cuyahoga v. Purdue
 9          Pharma, L.P., et al.
            Case No. 17-OP-45005
10
            City of Cleveland, Ohio vs. Purdue
11          Pharma, L.P., et al.
            Case No. 18-OP-45132
12
            The County of Summit, Ohio,
13          et al. v. Purdue Pharma, L.P.,
            et al.
14          Case No. 18-OP-45090

15
16
17                                      VOLUME I
18                      Videotaped Deposition of Kyle J. Wright
19                                  Washington, D.C.
20                                  February 28, 2019
21                                      9:33 a.m.
22
23
24          Reported by: Bonnie L. Russo
25          Job No. 3244302

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                                                                    Page 2

 1          Deposition of Kyle J. Wright held at:
 2

 3

 4

 5

 6                         Williams      &   Connolly,     LLP
 7                         725 12th Street, N.W.

 8                         Washington, D.C.

 9

10

11
12
13

14

15
16          Pursuant to Notice, when were present on behalf

17          of the respective parties:

18

19

20

21
22

23

24

25

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                                                                     Page 3

 1          APPEARANCES:
 2
 3          On behalf of the Witness:
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            Washington, D.C. 20006
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            On behalf of the U.S. Department of Justice:
 8          JAMES R. BENNETT, II, ESQ.
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            On behalf of Cuyahoga County:
13          HUNTER J. SHKOLNIK, ESQ.
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17          On behalf of Summit County:
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22
23
24
25

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                                                                    Page 4

 1          APPEARANCES       (CONTINUED):
 2
             On behalf of Plaintiffs:
 3           PAUL FARRELL, JR., ESQ.
             (Via Teleconference)
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 5           Huntington, West Virginia 25701
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 7           On behalf of Purdue Pharma, L.P.
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 8           DECHERT, LLP
             Three Bryant Park
 9           1095 Avenue of the Americas
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10           212-698-3593
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11
12           On behalf of Johnson & Johnson and Janssen
             Pharmaceuticals, Inc.
13           JEFFREY A. BARKER, ESQ.
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14           610 Newport Center Drive, 17th Floor
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22
23
24
25

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                                                                    Page 5

 1          APPEARANCES    (CONTINUED):
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            On behalf of Walmart, Inc.
 3          NEAL J. STEPHENS, ESQ.
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16          Health Solutions, Inc.
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                                                                    Page 6

 1          APPEARANCES (CONTINUED):
 2          On behalf of Cardinal Health,                  Inc.
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 3          COLLEEN McNAMARA, ESQ.
            JENNIFER WICHT, ESQ.
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 7          cmcnamara@wc.com
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 1          APPEARANCES     (CONTINUED):
 2
            On behalf of McKesson Corporation:
 3          GEOFFREY E. HOBART, ESQ.
            EMILY L. KVESELIS, ESQ.
 4          ANDREW STANNER, ESQ.
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                                                                     Page 8

 1          APPEARANCES (CONTINUED):
 2          On behalf of H.D. SMITH:
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11          KATY E. KOSKI, ESQ.
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21
            On behalf of Walgreen Co. and Walgreen Eastern
22          Co., Inc.:
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                                                                    Page 9

 1          APPEARANCES (CONTINUED):
 2          On behalf of Prescription Supply,               Inc.
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 3          (Via Teleconference)
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 5          Warrington, Pennsylvania 18976
            215-918-3680
 6          zmartin@foxrothschild.com
 7
            ALSO PRESENT:
 8          David Cohen, Special Master
            Renee A. Bacchus, Esq., United States
 9          Department of Justice, United States Attorney's
            Office
10          Robert E. Chandler, Esq., United States
            Department of Justice, Civil Division
11          David M. Finkelstein, Esq., United States
            Department of Justice, Civil Fraud Section
12          Mariama C. Spears, Esq., United States
            Department of Justice, Drug Enforcement
13          Administration
            Daniel Russo, Videographer
14
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 1                            P R O C E E D I N G S
 2

 3                           THE VIDEOGRAPHER:              Good morning.

 4                          We are going on the record at 9:33

 5          a.m.    on February 28,       2019.
 6                          Please note that the microphones are

 7          sensitive and may pick up whispering, private

 8          conversations and cellular interference.

 9          Please turn off all cell phones or place them

10          away from the microphones as they can interfere

11          with the deposition audio.                Audio and video

12          recording will continue to take place unless

13          all parties agree to go off the record.

14                          This is Media Unit 1 of the video

15          recorded deposition of Kyle Wright,                   taken by

16          counsel for the defendant in the matter of In

17          Re National Prescription Opioid Litigation,

18          filed in the United States District Court for

19          the Northeastern District of Ohio,                   Eastern

20          Division,       Case No. MDL, No.          2804,    17-MD-2804.

21                          This deposition is being held at

22          Williams    &    Connolly,    located at 725 12th

23          Street, Northwest, Washington, D.C.

24                          My name is Daniel Russo from the

25          firm Veritext Legal Solutions,                   and I'm your

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 1          videographer today.                The court reporter is
 2          Bonnie Russo from the firm Veritext Legal
 3          Solutions.
 4                             Counsel and all present in the room
 5          and everyone attending remotely will now state

 6          their appearances and affiliations for the

 7          record,       please.
 8                             MS. MAINIGI:          Enu Mainigi for

 9          defendant Cardinal.
10                             MS. McNAMARA:           Colleen McNamara for

11          Cardinal Health.
12                             MS. WICHT:        Jennifer Wicht for

13          Cardinal Health.
14                             MS. McCLURE:          Shannon McClure, Reed

15          Smith,       for AmerisourceBergen Drug Corporation.

16                             MR.   EPPICH:       Chris Eppich of

17          Covington          &   Burling for McKesson.

18                             MR. MATTHEWS:           James Matthews for

19          Anda,       Inc.
20                             MS.   LEVY:     Jennifer Levy for the

21          Allergan defendants.

22                             MR.   O'CONNOR:         Andrew O'Connor for

23          Mallinckrodt,            LLC,    and SpecGX.

24                             MR.   DAVISON:        William Davison for

25          Mallinckrodt,            LLC, and SpecGX,           LLC.

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 1                        MR.   STEPHENS:         Neal Stephens from
 2           Jones Day for Walmart.
 3                        MR.   PADGETT:         Bill Padgett,         Barnes    &

 4           Thornburg,    for Defendant H.D.               Smith.
 5                        MR. BARKER:          Jeff Barker for Janssen
 6           Pharmaceuticals and Johnson                &   Johnson.
 7                        MR. DAVIS:         Josh Davis for the Endo

 8           defendants.
 9                        MS. VANNI:         Amy Vanni for the Endo
10           defendants.
11                        MS. VENTURA:           Catie Ventura for the
12           Allergan defendants.
13                        MR.   RUIZ:      Anthony Ruiz for CVS
14           Indiana,    LLC,   and CVS Rx Services,             Inc.

15                        MR. BARNES:          Robert Barnes, HBC

16           Service Company.
17                        MR. HARRIS:          Alex Harris,          Walgreens

18           Company and Walgreens Eastern Company,                     Inc.

19                        MR. MASTERS:           Brad Masters,         Cardinal

20           Health.
21                        MS.   O'GORMAN:          Debra O'Gorman for

22           the Purdue defendants.
23                        MS.   KVESELIS:          Emily Kveselis for

24           McKesson.
25                        MR.   STANNER:         Andrew Stanner,

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 1          McKesson.
 2                       MR. HOBART:           Geoff Hobart,     McKesson.

 3                       MS. MAINIGI:            Defendants on the

 4          phone?
 5                       MR.   BEISELL:          Patrick Beisell for
 6          Walmart.
 7                       MS. MAINIGI:            Any other defendants
 8          on the phone?
 9                       MR.   LIVINGSTON:            Scott Livingston

10          for Defendant HBC.
11                       MS.   BRUNNER:          Madeleine Brunner,

12          Locke Lord,     for Henry Schein.
13                       MR.   KRNCEVIC:           Ray Krncevic for
14          Janssen.
15                       MR. MARTIN:           Zach Martin for

16          Prescription Supply.
17                       MR.   LEEDER:         Bill Leeder for H.D.

18          Smith.
19                       MS. MAINIGI:            Plaintiffs?

20                       MR. MIGLIORI:             Don Migliori for the

21          Summit County plaintiffs.
22                       MR.    SHKOLNIK:          Hunter Shkolnik for

23          Cuyahoga County plaintiffs.
24                       MS. MAINIGI:            Plaintiffs on the

25          phone?

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 1                       MR. FARRELL:          Paul Farrell, Jr., on
 2           behalf of plaintiffs.
 3                       THE VIDEOGRAPHER:              Will the court --

 4           oh.
 5                       MS. MAINIGI:          Let's let the

 6          government attorneys introduce themselves.

 7                       MR. BENNETT:          For the United States

 8           and the Department of Justice,                 James Bennett

 9           from the U.S. Attorney's Office in Cleveland.

10                       MR. CHANDLER:           Robert Chandler,

11           United States -- or -- United States Department

12           of Justice.
13                       MR. FINKLESTEIN:             David Finklestein

14           from the United States Department of Justice.

15                       MS. BACCHUS:          Renee Bacchus with the

16           Department of Justice from the Northern

17           District of Ohio U.S. Attorney's Office.

18                       MS. SPEARS:          Mariama Spears, Drug

19           Enforcement Administration.

20                       MR. TAYMAN:          David Tayman for Kyle

21           Wright in his individual capacity.

22                       MS. MAINIGI:           Special Master Cohen,

23           do you -- you're on the phone as well, correct?

24                       SPECIAL MASTER COHEN:                I am.    Good

25           morning everybody.

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 1                         THE VIDEOGRAPHER:            Will the court
 2          reporter please swear in the witness.
 3                         MS. MAINIGI:        Actually, before

 4          before we swear in the witness,                 David Cohen,

 5         ,before we came back into the room and went on

 6          the record, we had an opportunity, primarily

 7          plaintiff's counsel and defense counsel, to

 8          speak to you about a few outstanding issues.

 9                         May we ask
10                         SPECIAL MASTER COHEN:             Right.     So

11          I'd like to -- I'd like to go ahead and put a

12          couple of things on the record before you swear

13          the witness, which are essentially ground rules

14          on how this will be forward.

15                         So the        the court reporter should

16          go ahead and go on the record.

17                         First of all, good morning, Mr.

18          Wright.
19                         You're the star of the show this

20          morning.       And so we all appreciate you making

21          yourself available.

22                         Just so that I understand how this

23          is going to go forward,             because I'm not in the

24          room,       I assume that there is going to be one

25          counsel for each group of defendants who is

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 1          doing questioning.
 2                       Enu,    I assume that that's you on
 3          behalf of distributors.
 4                       Am I right so far?
 5                       MS. MAINIGI:            Correct.     Correct.

 6                        SPECIAL MASTER COHEN:              Hello?
 7                       MS. MAINIGI:            Yes.

 8                        Can you hear me?

 9                        SPECIAL MASTER COHEN:              Okay.

10                       MS. MAINIGI:            Yes.

11                        SPECIAL MASTER COHEN:              Yeah.

12                       Actually,        depending on how far
13          people are sitting from one of those
14          microphones,      it's either very easy or very

15          difficult to hear counsel.
16                       And then just for my own

17          understanding,       and I guess for Mr. Wright's

18          understanding of how things will go forward,

19          who besides you,        Enu, will be questioning Mr.

20          Wright for the defendant?
21                        MS. MAINIGI:           Who

22                        SPECIAL MASTER COHEN:              I'm sorry.        I

23          didn't hear.
24                        MS. MAINIGI:           Oh,    who besides.      Yes.

25                        So Andrew O'Connor will question for

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 1          the -- for pharma.          And Neal Stephens will
 2          question for the pharmacies.
 3                       SPECIAL MASTER COHEN:                Okay.
 4                       And then on behalf of plaintiffs,                    it
 5          will be Mr. Migliori?
 6                       MR. MIGLIORI:           Yes.       It'll be.    But

 7          it also will be -- and -- and this is hopefully

 8          acceptable going forward for all witnesses.

 9          Given the two counties, we'd like to be able to

10          have the option to have both -- a lawyer from

11          each county question.
12                       So Hunter Shkolnik is also here.

13          And we were going to split the time, not to

14                       SPECIAL MASTER COHEN:                That's fine.

15                       MR. MIGLIORI:           Okay.

16                       SPECIAL MASTER COHEN:                Okay.     And

17          then I heard a number of government counsel.                           I

18          -- I caught James Bennett's name and I think a

19          Mr. Chandler and also an attorney who said he

20          was there individually on behalf of Mr. Wright.

21                       And so I just want to understand who

22          will be the -- maybe, for example,                  interposing

23          objections on behalf of Mr. Wright?
24                       MR. BENNETT:           So, Special Master

25          Cohen, this is James Bennett.                   I will be

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 1          interjecting objections on behalf of the United
 2          States.
 3                       I anticipate that Mr. Wright's
 4          private attorney, whose name is David Tayman,
 5          may also have objections on behalf of Mr.
 6          Wright in his individual capacity.
 7                       So I expect that two of us will be

 8          the ones who will be making objections on

 9          behalf of the government and Mr. Wright.

10                       MR. TAYMAN:         Mr. Cohen, this is

11          David Tayman.       To -- to the extent that there
12          are objections to impose on Mr. Wright's behalf
13          as an individual,        I will be making those.
14                       SPECIAL MASTER COHEN:                Okay.    So a

15          few ground rules.
16                       First of all,          I understand that

17          counsel for the government or Mr. Wright may

18          interpose objection.            Those objections should

19          be as brief as possible.               Often you merely need

20          to say the word "objection'' and sometimes three

21          or four words in explanation as to what the

22          basis for that objection is.                    But there should

23          not be speaking objections as a general matter.

24                       Mr. Wright, when one of your

25          attorneys seeks to interpose an objection, you

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 1          should let him.        You should allow time for
 2          counsel to object.          But once that objection is
 3          made, you normally, almost always, will go
 4          ahead and answer the question that you were
 5          asked unless you're directed not to respond by
 6          your attorney.       And that's a fairly unusual
 7          circumstance, usually because the question asks

 8          for you to reveal communications you had with

 9          counsel.     That's the main reason that you

10          wouldn't answer a question.                 But normally you

11          will answer the question even though an
12          objection is interposed.
13                       So a couple of things that we talked

14          about before we -- before we went on the record

15          was kind of the splitting the time and also the

16          extent to which leading questions could be

17          asked.
18                       Regarding the splitting of time,                the

19          way this is going to go forward is that

20          defendants will be questioning first,                 and then

21          plaintiffs.      And then defendant are going to

22          reserve some time to ask kind of a second round

23          of questions.       And plaintiffs are going to

24          reserve time to ask a second round of

25          questions.      Let's call that defendants'             one and

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 1          plaintiffs' one and then defendants'                    two,

 2          plaintiffs' two.
 3                       As a general matter,               the parties

 4          should -- are allowed to reserve time for

 5          defendants'     two and plaintiffs'              two.    And as a

 6          general matter,       that should be in the range of

 7          20 to 30 percent, at most, of the time that's

 8          been allotted.
 9                       So defendants have eight hours.

10          They can reserve, you know, up to two and a

11          half hours.      But really it should be as little

12          as possible, closer to one and a half hours.

13                       And in the same way,               the plaintiffs

14          have three and a half hours.                    If they were to

15          reserve 20 to 30 percent of that,                   then that's,

16          off the top of my head, an hour and 15

17          minutes-ish.
18                       And -- and that reserved amount of

19          time will only be used to the extent necessary.

20          So,    for example,    if defendants'             two questioning

21          takes place,      it would be limited to the

22          cross-examination essentially of                        of      of

23          plaintiffs' one questioning.                    It's not going to

24          go beyond the scope.            And similarly,

25          plaintiffs'     two wouldn't go beyond the scope of

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 1          defendants'       two -- call it recross.
 2                       So that's way it's going go forward.
 3          Everybody can reserve time but should use as
 4          little of it as possible and as little of it as

 5          necessary.
 6                       The other rule that I'm laying down

 7          here is that, given that this is a third-party

 8          witness, given the nature of the -- the

 9          parties' positions and extent to they've had

10          conversations already with the deponent, both

11          sides may ask leading questions but should do

12          so as little as possible.
13                       If       if adversity is established,

14          that opens it up a bit more.                    But I just think

15          it's going to lead to a quicker deposition,

16          less time for Mr. Wright in total, and an

17          easier process if I say now that leading

18          questions as a general matter may be asked but

19          should only be asked if necessary.

20                       So the better approach is to ask a

21          question without leading.                But if it becomes

22          necessary, both sides are allowed to do that.

23                       I think that's all I have.

24                       Are there any questions of counsel

25          for me before we begin?

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 1                       Okay.
 2                       MS.     MAINIGI:         I    see none.

 3                       SPECIAL MASTER COHEN:                   I ' l l be

 4          putting myself on mute.                   So if you do need me,

 5          it may take me a second to come back online.

 6          But I will be listening in.                      And I ' l l let you

 7          go to it.
 8                       THE VIDEOGRAPHER:                   Will the court

 9          reporter please swear in the witness.

10

11                                 KYLE J. WRIGHT,

12          being first duly sworn,               to tell the truth,             the

13                 whole truth and nothing but the truth,

14                              testified as follows:

15                  EXAMINATION BY COUNSEL FOR DEFENDANT

16                              CARDINAL HEALTH,              INC.

17                       BY MS.      MAINIGI:

18                 Q.    Good morning,            Mr. Wright.

19                        If you could put your full name on

20          the record,     please.

21                 A.     Kyle James Wright.

22                 Q.    Are you currently employed?

23                 A.     No.
24                 Q.    Are you retired?

25                 A.     Yes.

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 1                       MR. MIGLIORI:           Objection to form.
 2                       THE WITNESS:          I do not object to
 3          this.
 4                       BY MS. MAINIGI:

 5                Q.     So based on your recollection and

 6          your review sitting here today, you agree

 7          you have no reason to disagree with the

 8          testimony you provided in 2011?
 9                A.     Yes, ma'am.
10                       MR. SHKOLNIK:           Objection.     Improper

11          use of the document.
12                       BY MS. MAINIGI:

13                Q.     Let me ask you -- let me the switch

14          for one moment while we seem to be looking for

15          other things.
16                       When there is a suspicious order --

17          or let's say a registrant identifies a possible

18          suspicious order.

19                       It's quite possible that, upon

20          further investigation, the registrant could

21          resolve the question of whether the order is

22          suspicious and make the decision to go ahead

23          and ship,    correct?
24                       MR. BENNETT:           Objection.     Form.

25                       THE WITNESS:           Correct.

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 1                        CERTIFICATE OF NOTARY PUBLIC
 2                      I, Bonnie L. Russo,           the officer before
 3          whom the foregoing deposition was taken,                    do
 4          hereby certify that the witness whose testimony

 5          appears in the foregoing deposition was duly
 6          sworn by me; that the testimony of said witness
 7          was taken by me in shorthand and thereafter

 8          reduced to computerized transcription under my

 9          direction; that said deposition is a true
10          record of the testimony given by said witness;

11          that I am neither counsel for,                  related to, nor

12          employed by any of the parties to the action in

13          which this deposition was taken; and further,

14          that I am not a relative or employee of any

15          attorney or counsel employed by the parties

16          hereto, nor financially or otherwise interested

17          in the outcome of the action.



                                   ~ L k
18

19

20                                Notary Public in and for

21                                 the District of Columbia

22

23          My Commission expires:              June 30,      2020

24

25

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